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             The defendant must also comply with the following special conditions (set forth below).

             STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

                     The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the
           fine or restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1).
           Payments may be subject to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to
           restitution, however, are not applicable for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and
           costs must be paid by certified check or money order made payable to “Clerk, U.S. District Court.” Each certified check or money
           order must include the case name and number. Payments must be delivered to:

                     United States District Court, Central District of California
                     Attn: Fiscal Department
                     255 East Temple Street, Room 1178
                     Los Angeles, CA 90012

           or such other address as the Court may in future direct.

                    If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must
           pay the balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

                    The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing
           address or residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

                     The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change
           in the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18
           U.S.C. § 3664(k). The Court may also accept such notification from the government or the victim, and may, on its own motion or
           that of a party or the victim, adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. §
           3572(d)(3) and for probation 18 U.S.C. § 3563(a)(7).

                     Payments will be applied in the following order:

                              1. Special assessments under 18 U.S.C. § 3013;
                              2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                                States is paid):
                                        Non-federal victims (individual and corporate),
                                        Providers of compensation to non-federal victims,
                                        The United States as victim;
                              3. Fine;
                              4. Community restitution, under 18 U.S.C. § 3663(c); and
                              5. Other penalties and costs.

                 CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

                     As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing
           credit report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate
           financial statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the
           defendant must not apply for any loan or open any line of credit without prior approval of the Probation Officer.

                     When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to
           the Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including
           any business or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the
           Probation Office in advance of opening a new account or modifying or closing an existing one, including adding or deleting
           signatories; changing the account number or name, address, or other identifying information affiliated with the account; or any
           other modification. If the Probation Office approves the new account, modification or closing, the defendant must give the
           Probation Officer all related account records within 10 days of opening, modifying or closing the account. The defendant must not
           direct or ask anyone else to open or maintain any account on the defendant’s behalf.

                    The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500
           without approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                     These conditions are in addition to any other conditions imposed by this judgment.



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                                                                             RETURN

            I have executed the within Judgment and Commitment as follows:
            Defendant delivered on                                                             to
            Defendant noted on appeal on
            Defendant released on
            Mandate issued on
            Defendant’s appeal
            determined on
            Defendant delivered on                                                             to
      at
                 the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                                United States Marshal


                                                                 By
                       Date                                                     Deputy Marshal



                                                                        CERTIFICATE

            I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office,
            and in my legal custody.

                                                                                Clerk, U.S. District Court


                                                                 By
                       Filed Date                                               Deputy Clerk




                                                       FOR U.S. PROBATION OFFICE USE ONLY


           Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the
           term of supervision, and/or (3) modify the conditions of supervision.

                     These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


                     (Signed)
                                Defendant                                                      Date



                                U. S. Probation Officer/Designated Witness                     Date




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